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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DIVISION OF TEXAS
                                 WACO DIVISION

VIDEOSHARE, LLC

              Plaintiff,                    CIVIL ACTION NO. 6:21-CV-00254-ADA

     v.

META PLATFORMS, INC.,                       JURY TRIAL DEMANDED

              Defendant.


    DEFENDANT’S OPPOSED MOTION TO STRIKE PLAINTIFF’S AMENDED
                   INFRINGEMENT CONTENTIONS




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I.     INTRODUCTION

       Defendant Meta Platforms, Inc. (“Meta”) respectfully moves to strike Plaintiff VideoShare

LLC’s (“VideoShare”) amended infringement contentions. VideoShare served its preliminary

contentions in July 2021, which charted only one accused product—Facebook LIVE. Meta’s

invalidity contentions, which it served in September 2021, confirm that Facebook LIVE is the only

accused product in this case, and accordingly Meta produced documents relating to this sole

accused product.     Months later, and after claim construction proceedings had concluded,

VideoShare served “amended” contentions purporting to add the Instagram application as an

accused product. 1 But VideoShare’s amendment is based on long-available public information;

so, its late attempt to expand the case to Instagram should be disallowed.

       If, however, VideoShare were to be permitted to expand the case at this late juncture, with

trial just over nine (9) months away, the resultant delay weighs strongly in favor of Meta’s pending

request to stay the case pending resolution of an instituted ex parte reexamination of the expired

asserted patent. See Dkt. 49 (February 18, 2022 Hearing Minute Entry). Alternatively, the Court

should order the parties to meet and confer to submit a new Scheduling Order that: (1) allows Meta

additional time to respond (as its discovery responses do not relate to Instagram); and (2) reopens

claim construction to address any new issues implicated by the addition of Instagram.

II.    FACTUAL BACKGROUND

       On July 7, 2021, VideoShare served its preliminary contentions. Ex. 1 (cover pleading);

Ex. 2 (claim chart). The only product referenced in VideoShare’s preliminary claim chart is

Facebook LIVE. See Ex. 2 at e.g., 6. Meta served its invalidity contentions on September 1, 2021,


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 VideoShare moved the Court to extend its time to add new parties (Dkt. 44) so that it could
“determine whether the addition of other parties [e.g., Instagram] is necessary.” Dkt 48.
VideoShare was granted the extension but did not add Instagram as a party.


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confirming that Facebook LIVE was the only accused product subject to its discovery obligations.

Ex. 3 at 19 (“Defendant is producing and/or making available for inspection … technical

documents, including source code, sufficient to show the operation of the accused product charted

in VideoShare’s Infringement Contentions, Facebook LIVE.”).

       Shortly thereafter, on October 28, 2021, Meta filed a request with the USPTO for ex parte

reexamination of the sole asserted patent (which patent expired before VideoShare filed suit). The

USPTO ordered reexamination of the patent on January 10, 2022, finding “substantial new

questions of patentability” based on three different combinations of prior art. On this basis, Meta

sought a stay of this proceeding, which was heard before the Court as of February 18, 2022. See

Dkt. 49.

       Over five months after Meta served its invalidity contentions, VideoShare sent

correspondence on February 8, 2022, arguing for the first time that it had already accused

Instagram of infringement, citing language appearing only in the cover pleading to its contentions.

In response, Meta pointed out that VideoShare’s claim chart did not even mention Instagram, much

less show where in Instagram each element of the asserted claims is found, as this Court’s OGP

requires. OGP v. 3.5.1 at 8.

       Unable to dispute that its preliminary claim chart did not mention Instagram, VideoShare

then served “amended” contentions on February 23, 2022. Ex. 4 (amended cover pleading); Ex. 5

(amended claim chart). However, the bulk of the amendments purportedly specific to Instagram

rely on long-since available public websites and screen shots from Instagram that VideoShare

could have generated long ago. See Ex. 5 at 12, 16, 32, 33, 34, 50, 53, 57, 59, 62. Even the

deposition testimony cited by VideoShare merely echoes what was publicly known. See id. at e.g.

5 (noting the orientation of videos on Instagram and Facebook); id. at 51 (noting that ads exist on




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Instagram and Facebook.). On March 9, 2022, Meta met and conferred on the contentions and

demanded that VideoShare withdraw these amended contentions or alternatively seek leave to

amend by attempting to show good cause to do so, but it refused. Moreover, Meta was ready to

submit a joint chart raising this issue, when VideoShare unilaterally asked the Court which

procedure to be used. The Court clarified that a formal Motion should be filed, and Meta has now

done so.

III.    ARGUMENT

        A.      Legal Standard

        Version 3.5.1 of this Court’s Standing Order Governing Proceedings – Patent Cases

(“OGP”) governed at the time of VideoShare’s amended contentions. It specifies that parties may

amend preliminary infringement contentions “without leave of court so long as counsel certifies”

that “it undertook reasonable efforts to prepare its preliminary contentions and the amendment is

based on material identified after those preliminary contentions were served and should do so

seasonably upon identifying any such material.” OGP v. 3.5.1 at 8 n.6. This procedure appears to

be modeled, at least in part, after the EDTX and NDCA Local Patent Rules, the purpose of which

“is to require parties to crystallize their theories of the case early in the litigation so as to prevent

the shifting sands approach to claim construction.” Keranos, LLC v. Silicon Storage Tech., Inc.,

797 F.3d 1025, 1035 (Fed. Cir. 2015) (internal quotations omitted).

        All other amendments require leave of court, OGP v. 3.5.1 at 8 n.6, which is granted only

upon a “showing of good cause.” Epistar Corp. v. Lowe’s Cos. Inc., 6:20-cv-00420-ADA, Dkt.

67 (Aug. 4, 2021) at *3. To show good cause, as a threshold matter, a party “is required to show

that the deadlines cannot reasonably be met despite the diligence of the party needing the

extension.” Filgueira v. U.S. Bank Nat’l Assoc., 734 F.3d 420, 422 (5th Cir. 2013) (internal

quotation omitted). Courts evaluate four factors to determine whether there is good cause to amend:


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(1) “the reason for the delay and whether the party has been diligent”; (2) “the importance of the

amendment”; (3) “potential prejudice in allowing the amendment” and (4) “the availability of a

continuance to cure any prejudice.” Epistar Corp, 6:20-cv-00420-ADA, Dkt. 67 at *3.

       B.      The Court Should Strike VideoShare’s Amended Contentions

       There are two independent reasons for granting this motion to strike. First, VideoShare

was not diligent in charting Instagram, as evidenced by the fact that its attempted amendment relies

on public information about the popular Instagram application available at the time VideoShare

served its preliminary contentions in July 2021. Second, allowing VideoShare to accuse a new

product at this late stage, after claim construction, is manifestly prejudicial to Meta.

               1.      VideoShare Was Not Diligent in Charting Instagram

       VideoShare’s lack of diligence in charting Instagram is obvious. As discussed previously,

the amendments purportedly specific to Instagram rely on long-since available public websites and

screen shots from Instagram. See Ex. 5 at 12, 16, 32, 33, 34, 50, 53, 57, 59, 62. With even a bare

minimum of diligence, VideoShare could have long ago charted these public sources. Even the

deposition testimony cited by VideoShare merely echoes what was publicly known. Ex. 5 at 5,

51. Thus, VideoShare cannot argue that its attempted amendment is the result of recently

discovered confidential information.

       Meta recognizes that this Court will grant leave for amended contentions in circumstances

that, for example, require expert “testing” of accused products. Epistar Corp., 6:20-cv-00420-

ADA, Dkt. 67 at *3 (“The Court finds the Plaintiff diligent in pursuing testing the products[.]”).

This is not such a case. VideoShare’s utter lack of diligence in charting Instagram—an application

that has been publicly-known for years—is by itself more than sufficient to strike VideoShare’s

amended infringement contentions. See Finjan, Inc. v. Blue Coat Sys., Inc., No. 13-CV-03999-

BLF, 2015 WL 3640694, at *4 (N.D. Cal. June 11, 2015) (“Plaintiff had access to the publicly


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available information that Plaintiff sought to add and failed to diligently seek amendment.”); Glob.

Sessions LP v. Travelocity.com LP, No. 6:10-CV-671-LED-JDL, 2012 WL 1903903, at *7 (E.D.

Tex. May 25, 2012) (“The Court finds it troublesome that Global Sessions could chart

www.amazon.com, yet could not chart the other public websites; the failure to chart the Amended

Amazon Websites, even if originally disclosed, left Amazon guessing as to which portions of these

websites correspond to which element of the asserted claims.”).

               2.      The Amendment is Prejudicial to Meta

       As a second reason for granting this motion to strike, allowing VideoShare to expand the

case at this juncture to include Instagram is highly prejudicial to Meta. A plaintiff is required to

disclose its infringement contentions prior to claim construction proceedings to give the defendant

a fair chance to prepare its defenses against a “crystallized” theory of infringement. Keranos, LLC,

797 F.3d at 1035. Allowing “amendment at this stage of the litigation”—here, after claim

construction is closed—“would unfairly allow Plaintiffs to amend their previously disclosed

theories of infringement.” AstraZeneca AB v. Dr. Reddy’s Lab’ys Inc., No. CIV.A. 11-2317 JAP,

2013 WL 1145359, at *5 (D.N.J. Mar. 18, 2013).

       C.      Alternatively, the Court Should Stay the Case Pending Reexamination or
               Otherwise Modify the Scheduling Order to Cure the Prejudice to Meta

       Even if VideoShare were allowed to accuse Instagram at this stage of the case (and it should

not be), the resultant delay weighs strongly in favor of Meta’s pending motion to stay the case

pending resolution of an instituted ex parte reexamination of the expired asserted patent. 2

       Alternatively, and at the very minimum, the Court should order the parties to meet and

confer to submit a new proposed Scheduling Order that (1) allows Meta additional time to respond


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 The parties presented the motion to stay in the form of a discovery dispute chart. On February
18, 2022, the Court heard argument on the issue, indicating that it was taking the motion “under
advisement.” Dkt. 49. It remains pending.


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(as its discovery responses do not relate to Instagram) and produce documents and (2) reopens

claim construction to address any new issues implicated by the addition of Instagram. See Epistar

Corp., 6:20-cv-00420-ADA, Dkt. 67 at *3-*4 (“[A]ny prejudice experienced by Defendant is

mitigated by granting Defendants additional time to respond. If Defendants believe the current

schedule unduly prejudices them and they are unable to agree with Plaintiff on a schedule going

forward, they are instructed to contact the Court to seek relief.”).

IV.    CONCLUSION

       The Court should strike VideoShare’s amended infringement contentions. Alternatively,

if the foregoing motion to strike is denied, the Court should stay the case. Alternatively, the Court

should modify the Scheduling Order to lessen the prejudice to Meta.




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DATED: March 25, 2022          Respectfully submitted,

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                             CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that on March 9, 2022, Meta’s counsel conferred with

Plaintiff’s counsel regarding the foregoing motion, and opposing counsel indicated that

Plaintiff is opposed to the motion. Accordingly, the motion and the relief requested herein are

presented to the Court for resolution.


                                  /s/ Paige Arnette Amstutz
                                  Paige Arnette Amstutz


                                 CERTIFICATE OF SERVICE

       Pursuant to the Federal Rules of Civil Procedure and Local Rule CV-5, I hereby certify

that, on March 25, 2022, all counsel of record who have appeared in this case are being served

with a copy of the foregoing via the Court’s CM/ECF system.


                                  /s/ Paige Arnette Amstutz
                                  Paige Arnette Amstutz




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